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                                   TINITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                        TERRE HAUTE DIVISION

   UNITED STATES OF AMERICA,                                )
                                                            )
                           Plaintiff,                       )
                                                            )
                  v.                                        )       Cause No. 2: I 6-cr-001   S-WTL-CMM
                                                            )
                                                            )
   ANDREW N. ROGERS,                                        )
                                                            )
                                                            )
                            Defendant.                      )


            PETITION TO ENTER PLEA OF GUILTY AND PLEA AGREEMENT

          The United States of America, by counsel, Josh J. Minkler, United States Attorney for the

   Southern District   of Indiana, William    S. McCoskey, Assistant United States Attorney, Abhishek

   S. Kambli, Assistant United States Attomey ("the Government"), and the defendant, Andrew N.

   Rogers ("the defendant"), in person and by counsel, Monica Foster, Nathan D. Chambers, Patrick

   J. Burke, and Gwendolyn M. Beitz, hereby inform the Court that a Plea Agreement has been

   reached in this case pursuantto Federal Rule of Criminal Procedure         ll(c)(1)(C). The following

   are its terms and conditions:

                                    Part 1: Guiltv Plea and Charse(s)

          1.      Plea of   Guilty:     The defendant petitions the Court for leave to enter and agrees to

   enter a plea of guilty to the following offense(s) charged in the Indictment:

                  Count    l, which charges    the defendant with First Degree Premeditated Murder, in

                  violation of Title 1 8, United States Code, Section    1111.
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          2.      Potential Penalties:

                  The offense charged in Count     I   is punishable by death or imprisonment for life and

   a $250,000 fine.

          3.      Elements of the Offense:

                  To sustain the offense to which the defendant is pleading guilty, the Government

   must prove the following elements beyond a reasonable doubt: (i) On the date charged in the

   indictment, the defendant unlawfully killed Thomas W. Sim; (ii) The defendant killed Thomas W'

   Sim with malice aforethought; (iii) The killing was premeditated; and (iv) The killing took place

   within the territorialjurisdiction of the United States.

                                       Part   2: General Provisions

           4.      18 U.S.C. $ 3553(a) and Sentencing Guidelines: The defendant agrees and

   understands that should     this Court accept this plea agreement, the Court will sentence                   the


   defendant to the specific sentence set forth    in paragraph 9, below. The defendant agrees and

   understands that the Court, in deciding whether to accept or reject the specific sentence set forth

   in paragraph 9 below,   will (A) consider the factors    set forth   in 18 U.S.C.   $ 3553(a), and   (B) consult

   and take into account the United States Sentencing Guidelines ("Sentencing Guidelines" or
   ,.U.S.S.G."). The defendant also agrees and understands that the Sentencing Guidelines are not

   mandatory or binding on the Court, but are advisory in nature, and that the final determination

   concerning the applicable advisory guideline calculation, criminal history, and advisory sentencing

   guideline range will be made by the Court.

           5.      Rule 11(c)(1XC), Fed. R. Crim. P.: The defendant acknowledges that this Plea

   Agreement is governed by Federal Rule of Criminal Procedure                ll(c)(l)(C)   and that the specific

   sentence set forth in paragraph 9, below, is the appropriate disposition of this cause. The parties




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   understand that the Court must accept or reject the sentence specified in this Plea Agreement.        If

   the Court rejects this Plea Agreement, then either party may withdraw from this Plea Agreement'

   The defendant acknowledges that pursuant to Fed. R. Crim. P. I l(c)(3), (4) and (5),       if the Court

   rejects the Plea Agreement, the Court   will   advise the defendant personally in open court that the

   Court is rejecting the Plea Agreement and the Court     will afford both parties the opportunity to then

   withdraw the Plea Agreement.

          6.      Plea Agreement Based on Information Presently                Known: The defendant

   recognizes and understands that this Plea Agreement is based upon the information presently

   known to the Government. The Government agrees not to bring other federal charges against the

   defendant based on information currently known to the United States Attorney for the Southem

   District of Indiana. The Govemment will inform the Court and the defendant at the time of taking

   the defendant's plea whether the Government has obtained any information after the                 Plea


   Agreement was signed that may warrant bringing other federal charges against the defendant.

          7.      No Protection From Prosecution for Unknown or Subsequent Offenses: The

   defendant acknowledges and agrees that nothing in this agreement shall protect the defendant in

   any way from prosecution for any offense not specifically covered by this agreement, or not known

   to the United States Attorney for the Southern District of Indiana at this time. The defendant

   further acknowledges and agrees that nothing in this agreement shall protect the defendant in any

   way from prosecution for any offense committed after the date of this agreement.

          8.      Rights Under Rule 11(b), Fed. R. Crim. P.: The defendant understands that the

   Government has the right, in a prosecution for perjury or false statement, to use against the

   defendant any statement that the defendant gives under oath during the guilty plea colloquy. The

   defendant also understands that the defendant has the right: (A) to plead not guilty, or having



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   already so pleaded, the right to persist in that plea; (B) to a jury trial; (C) to be represented by

   counsel--and   if   necessary have the court appoint counsel--at        trial and at every other stage of the

   proceedings, including appeal; and (D) to confront and cross-examine adverse witnesses, to be

   protected from compelled self-incrimination, to testify and present evidence, and to compel the

   attendance of witnesses. The defendant also understands that the Constitution guarantees the right

   to be considered for release until triall; and if found guilty of the charge, the right to appeal the

   conviction on such charge to a higher court. The defendant understands that ifthe Court accepts

   this plea of guilty, the defendant waives all of these rights.

                                        Part   3:   Sentence of ImPrisonment

           9.          Agreed Upon Sentence Pursuant To Federal Rule of Criminal Procedure

   1l(cXl)(C): The parties agree that the following            sentence is the appropriate disposition   of this

   cause

                       A.     Imprisonment: Life without the possibility of parole.

                       B.     Extent of Rule 11(c)(1)(C) Agreement: The provisions set forth in

   paragraph(s) 9a, above, is/are the only provision(s) of this Plea Agreement subject to the

   provisions of Fed. R. Crim. P. l1(c)(1)(C).

           10.         Additional Provisions:

                       A.     Withdrawal of Notice of Intent to Seek Death Penalty: The

   Govemment agrees that in the event the defendant fully and completely abides by all conditions

   of this agreement, the government will withdraw the Notice of Intent to Seek Death Penalty

   (Dkt. No. l3) following imposition of sentence in accordance with this agreement.




      rTitle 18, U.S.C.
                        SS 3141-3 156, Release and Detention Pendine Judicial Proceedinqs.



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                  B.      Fine: The parties   reserve the right to present argument on whether a fine

   should be imposed in this case and the amount of such fine.

                  C.      Mandatory Special Assessment: The defendant will pay a total of $100

   on the date of sentencing or as ordered by the Court to the Clerk, United States District Court,

   which amount represents the mandatory special assessment fee imposed pursuant to 18 U.S.C.         $


   301 3.


                  D.     Obligation to Pay Financial Component of Sentence: If the defendant

   is unable to pay any financialcomponent of the defendant's sentence on the date of sentencing,

   the obligation to pay the financial component is a continuing   one.   The defendant may

   participate in the Bureau of Prisons Inmate Financial Responsibility Program.

                  E.      Placement: The Government does             not object to any requested
   recommendation of the defendant for placement by the Bureau of Prisons, specifically that he

   remain incarcerated at the United States Penitentiary, Administrative Maximum Facility, Florence,

   Colorado. The defendant acknowledges and understands that, even if the defendant's request is

   accepted by the Court, any placement recommendation by the Court is only a recommendation and

   does not bind the Federal Bureau ofPrisons.

                  F.      Programs and/or Treatment: The Government agrees that it            will    not

   object to any request by the defendant for placement by the Bureau of Prisons in any specific

   programs or treatment during the defendant's service of the sentence of imprisonment imposed in

   this case. The defendant acknowledges and understands that any recommendation by the Court

   regarding such participation is only a recommendation and does not bind the Federal Bureau of

   Prisons.




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                                  Part 4: Factual Basis for Guiltv Plea

          11.       The parties stipulate and agree that the following facts establish a factual basis for

   the defendant's plea of guilty to the offense set forth in Paragraph One, above, and that the

   Government would be able to establish the following facts beyond a reasonable doubt in the event

   this cause was to proceed to       trial. The following information is only a summary of the
   Government's evidence. This Plea Agreement is not intended to foreclose the presentation of

   additional evidence at the time of sentencing, and the Government reserves the right to present

   such evidence.

                    A.      Commencing on July 25, 2013, the defendant was incarcerated at the

          Federal Correctional Complex, Terre Haute, Indiana (FCCTH), were he was serving a

          sentence    of   324 months' incarceration imposed following his pleas of guilty to and

          convictions on one count of interference with interstate commerce by robbery, in violation

          of l8 USC $ 1951(a), one count of using      and carrying a firearm during and in relation to a

          crime of violence, in violation of l8 USC $ 92a(c)(l)(AXii), and one count of possession

          of a firearm by a felon, in violation of 18 USC $ 922(g)(t), in United States v. Andrew

          Rogers, Cause No. I : l2CRl0l 52-001, in the United States District Court for the Central

          District of Illinois.

                    B.      On December 26,2013, the defendant murdered his cellmate, Thomas W.

          Sim, inside their cell at the FCCTH.

                    C.      When correctional officers discovered Sims' body, his hands were tied

          behind his back and there appeared to be multiple stab wounds to his neck and chest.

                    D.      Shortly after the murder was discovered, the defendant told the Warden of

          the FCCTH that      "l'll kill anyone you put in the cell with me. I will keep killing until I


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         force you guys to give me the death penalty . . . . I'm not going to do the rest of my time in

         a bathroom   with another roommate."

                 E.      Later that same day, the defendant waived his Miranda rights and made a

         statement that he killed Sim because he did not want to spend the next thirty years with

         another man in a cell the size of a bathroom. The defendant said his goal "was to make            it

         look somewhat heinous, cause I'm shooting for the death penalty." The                      defendant

         explained that he planned the murder for approximately three weeks. The defendant also

         stated that he employed a ruse to get Sim to consent to being bound before strangling and

         stabbing him approximately 20 times with a piece of metal he had removed from the frame

         of a bed in the cell and fashioned into a weapon'

                 F.      The autopsy revealed that Sim had been stabbed approximately 18 times

          and the cause of death was wounds to the neck and chest, two of which penetrated the heart,

          one perforated the pulmonary artery, and one perforated the ascending aorta.

                 G.      During a post-Miranda intewiew on March 12, 2014, the defendant

          identified a photograph of a homemade metal weapon recovered from his cell after the

          homicide stating, "that's my shank," and    "l   stabbed my cellie to death   with it."

                 H.      The FCCTH is a place within the territorialjurisdiction of the United States

          and is within the Southern District   of Indiana.

                                      Part 5: Other Conditions

          12.    Background Information: The defendant acknowledges and understands that no

   limitation shall be placed upon the Court's consideration            of   information conceming the

   background, character, and conduct   ofthe defendant for the purpose of imposing an appropriate

   sentence. The defendant acknowledges and understands that the Government is not prohibited



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   from providing information concerning background, character, and conduct of the defendant for

   the purpose of recommending or advocating an appropriate guideline calculation and sentence.

                                   Part 6: Sentencine Guideline Stipulations

          13.         Guideline Computations: Pursuant to Section 681.4 of the Sentencing

   Guidelines, the parties agree to the Stipulations below. The parties understand and agree that

   these Stipulations are binding on the parties but are only a recommendation to the Court and that

   the Court   will   determine the advisory sentencing guidelines applicable in this case. The parties

   make no stipulations regarding any factors in Chapter 4, Criminal History Category, of the

   Sentencing Guidelines, and agree that such determination       will   be made by the   Court. These

   stipulations provide the basis for the sentence agreed upon by the parties in paragraph 9,A, above.

   The 2018 version of the Sentencing Guidelines has been used by the parties to make the

   stipulations set forth below.

                      A.      Base Offense   Level:   The defendant committed the offense of first degree

   premeditated murder, in violation      of l8 U.S.C. S ll1l. This results in a base offense levelof 43,

   with a sentence of life imprisonment, pursuant to U.S.S.G. $ 24l.l(a), and comment. (n.2(A)).

                      B.      Acceptance of Responsibility: To date, the defendant has demonstrated a

   recognition and affirmative acceptance of personal responsibility for the defendant's criminal

   conduct. Based upon the defendant's willingness to accept a Plea Agreement and enter a plea of

   guilty to the criminal conduct noted in this agreement, the Government agrees that the defendant

   should receive a two (2) level reduction provided the defendant satisfies the criteria set forth in

   Guideline $ 3E1 ,l (a) up to and including the time of sentencing. The defendant timely notified

   the Government of defendant's intention to enter a plea of guilty, thereby permitting the

   Govemment and the Court to allocate their resources efficiently. After the Defendant enters a



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   plea of guilty, the government intends to file a motion pursuant to U.S.S.G. $     3El.l(b)

   requesting that the Court decrease the offense level by one   (l)   additional level. The parties

   reserve the right to present evidence and arguments concerning the defendant's acceptance           of

   responsibility at the time of sentencing.

                    C.     Final Offense Level: 40

                                   Part   7: Waiver of Risht to Appeal

           14.      Direct Appeal: The defendant understands that the defendant has a statutory right

   to appeal the conviction and     sentence imposed and the manner          in which the   sentence was

   determined. Acknowledging this right, and in exchange for the concessions made by the

   Government in this Plea Agreement, the defendant agrees that in the event the Court accepts this

   Rule I l(cXlXC) plea provided for in this Plea Agreement and sentences the defendant consistent

   with this agreement, regardless of the defendant's criminal history category or how the sentence

   is calculated by the Court, then the defendant expressly waives the defendant's right to appeal the

   conviction and sentence imposed in this case on any ground, including the right to appeal conferred

   by 18 U.S.C. $ 3742. The defendant further expressly waives any and all              challenges     to the

   statute(s)   to which the defendant is pleading guilty on constitutional grounds, as well as any

   challenge that the defendant's admitted conduct does not      fall within the scope of the applicable

   statute(s). This waiver of appeal specifically includes all provisions of the guilty plea and sentence

   imposed, including the amount of any fine.

           15.      Pending Motions: The parties also agree that all motions for relief currently

   pending with the Court are rendered moot upon sentencing consistent with this Rule I l(c)(1XC)

   plea agreement.




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           16.       Later Legal Challenges: Additionally, the defendant expressly           agrees not to

   contest, or seek to modify, the defendant's conviction or sentence or the manner in which either

   was determined in any later legal proceeding, including but not limited to, an action brought under

    l8 U.S.C. $ 3582 or 28 U.S.C.    S   2255. As concerns this Section 3582 waiver, should the United

    States Sentencing Commission and/or Congress in the future amend the Sentencing Guidelines to

    lower the guideline range that pertains to the defendant's offense(s) and explicitly make such an

   amendment retroactive, the Government agrees that          it will not   argue that this waiver bars the

    defendant from filing a motion with the district court pursuant to      l8 U.S.C. $ 3582(cX2) based on

   that retroactive Guidelines amendment. However,            if   the defendant files such a motion, the

    Govemment may oppose the motion on any other grounds. Furthermore, should the defendant

    seek to appeal an adverse   ruling of the district court on such a motion, the Government may claim

    that this waiver bars such an appeal. As concerns the Sectio n 2255 waiver, the waiver does not

    prevent claims, either on direct or collateral review, that the defendant received ineffective

    assistance of counsel.

                                Part 8: Presentence Investigation Report

            17   .   The defendant waives his right to the preparation of a presentence investigation by

    probation officers of the United States District Court. Rule 32(c)(lXAXii), Fed.R.Crim.P.

                                    Part   9:   Statement of the Defendant


            18.      By signing this document, the defendant acknowledges the following:

                     A.      I have received a copy of the Indictment       and have read and discussed it

    with my attomey. I believe and feel that I understand every accusation made against me in this

    case. I wish the Court to omit and consider as waived by me all readings of the Indictment in open

    Court, and all further proceedings including my arraignment.


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                    B.     I have told my attorney the facts and surrounding circumstances          as known


   to me concerning the matters mentioned in the Indictment, and believe and feel that my attorney

   is fully informed as to all such matters. My attorney has since informed, counseled and advised

   me as to the nature and cause of every accusation against me and as to any possible defenses I

   might have in this case.

                    C.     I have read the entire Plea Agreement and discussed it with my attorney.

                    D.     I understand all the terms of the Plea Agreement and those terms corectly

   reflect the results of plea negotiations.

                    E.     Except for the provisions of the Plea Agreement, no officer or agent of any

   branch of Government (federal, state or local), nor any other person, has made any promise or

   suggestion of any kind to me, or within my knowledge to anyone else, that I would receive a lighter

   sentence,   or probation, or any other form of leniency,       if I would plead "Guilty." I respectfully

   request that the Court consider in mitigation of punishment at the time of sentencing the fact that

   by voluntarily pleading "Guilty" I have saved the Government and the Court the expense and

    inconvenience of a trial. I understand that before       it imposes sentence, the Court will   address me


    personally and ask me if I wish to make a statement on my behalf and to present any information

    in mitigation of punishment.

                    F.     I   am   fully satisfied with my attorney's representation during all    phases   of

    this case. My attorney has done all that anyone could do to counsel and assist me and that I fully

    understand the proceedings in this case against me.

                    G.     I   make no claim of innocence, and        I   am freely and voluntarily pleading

    guilty in this case.




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                     H.     I am pleading guilty as set forth in this Plea Agreement because I am guilty

   of the crime to which I am entering my plea.

                     L      My attorney has informed me, and I understand, that I have the right to

   appeal any conviction and sentence that I receive, unless I have waived my right to appeal as part

   of this Plea Agreement.     If I have not waived my right to appeal, I understand that I must file a

   Notice of Appeal within fourteen (14) days of the entry of the judgment in this case; I further

    understand that the Clerk of the Court   will   prepare and file a Notice of Appeal on my behalf    if   I


    ask that to be done.   I also understand that the United   States has the right to appeal any sentence

   that I receive under this Plea Agreement.

                     J.     My attorney has informed me, and I understand, that if I provide or cause

    to be provided materially false information to a judge, magistrate-judge, or probation office, then

    Section3Cl.l ofthesentencingGuidelinesallowstheCourttoimposeatwo-level increaseinthe

    offense level.

                     K.     If this cause is currently set for trial on the Court's calendar, I request that

    this date be continued to permit the Court to consider this proposed guilty Plea Agreement.              I


    further understand that any delay resulting from the Court's consideration of this proposed guilty

    Plea Agreement, up to and including the date on which the Court either accepts or rejects my      guilty

    plea,   will be excluded in computing the time within which trial of this cause must commence,

    pursuantto 18 U.S.C. $ 3l6l(h)(lXG).

                                      Part 10: Certificate of Counsel

              19.    By signing this document, the defendant's attorney and counselor certifies           as


    follows:




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                     A.     I have read and fully explained to the defendant all the accusations against

   the Defendant which are set forth in the Indictment in this case;

                     B.     To the best of my knowledge and belief each statement set forth in the

   foregoing petition to enter plea of guilty and Plea Agreement is in all respects accurate and true;

                     C.     The plea of "Guilty" as offered by the defendant in the foregoing petition to

   enter plea of guilty and Plea Agreement accords with my understanding of the facts as related to

   me by the defendant and is consistent with my advice to the defendanq

                     D.     In my opinion, the defendant's waiver of all reading of the Indictment in

   open Court, and in all further proceedings, including arraignment as provided in Rule 10, Fed. R.

    Crim. P., is voluntarily and understandingly made; and I recommend to the Court that the waiver

    be accepted by the Court;

                     E.     In my opinion, the plea of "Guilty" as offered by the defendant in        the


    foregoing petition to enter plea of guilty and Plea Agreement is voluntarily and understandingly

    made and   I   recommend to the Court that the plea    of "Guilty" be now accepted and entered on

    behalf of the defendant as requested in the foregoing petition to enter plea of guilty and Plea

    Agreement.




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                                            Part   ll:    Final Provisiou
                                                                                        protnises, or
                20.   Conrplctc Agrccment: The defendant acknowledges tlrat no threats'
                                                                            those sct forth               in tlris
     representations have been macle, nor agreements rcacltecl' otlter than

     documerrt. to in<luce the defendarrt to plead       guilty. This   clocument is tlte cornplete and only Plea

                                                                            the Southertr District             of
     Agreenrent betlveen the del'endant and the United States Atlot'ney for

     Ipdiana alcl     is binding only or: the parties to tlre Plea Agrcerllcllt, supel'sedes all prior
     understanclirrgs,   if any. whether written or oral, attd canttot be moclified excePt in writirrg, signed

     by all parties ancl filed with the Court, or on the record in o;:en court,



                                                                  Respect   Fu I   ly subnr itted,

                                                                  .IOSI-IJ. MINKLER
                                                                  U                   Attorney



     5/3                                                                   L. McCoskel,
     Date
                                                                  Assistant United States



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     Date                                                         A                S. Kanrbli
                                                                  Assistant Urritccl States Attorney




                                                                             N. Rogers
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     Date                                                         Monica Foster
                                                                  Courtsel for the Defcndant


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                                                                  Nathan
                                                                  Courtsel lol tlre De l'endant


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                                            Counscl lor tlre Deferldant




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